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                                                                   S AYA N? AH Div.
                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA,          Z HAY I I PH 10: 3 3
                         STATESBORO DIVISION

LYNETTE TANKERSLEY EDEN,

       Plaintiff ,

VS .                                     Case No . CV605-043

CITIFINANCIAL AUTO,
LTD .,

       Defendant .


        PLAINTIFF'S SUPPLEMENTAL MEMORANDUM OF LAW IN SUPPORT
               OF MOTION FOR PARTIAL SUMMARY JUDGMEN T

           This memorandum addresses three issues . (1) Is the

failure to attempt a second post-repossession notice if the

creditor actually knows that the consumer did not receive the

first attempt "a willful violation" of the Motor Vehicle Sales

Finance Act? (2) Is a post -repossession notice sufficient if

the notice is ambiguous about the creditor's "intention to pur-

sue a deficiency claim against the buyer"? (3) Is a consumer

entitled to statutory damages if she does not prove actual dam-

age?

           Ms . Eden bought a car with a loan from the defendant .

She defaulted . The defendant repossessed the car and sold it .

She alleges that the defendant did not give her the statutory

post-repossession notices .

I.     If the Creditor Actually Knows That the Consumer Did Not Re -
       ceive Post-repossession Notice but Does Nothing, Does the
       Creditor Commit a Willful Violation of the Motor Vehicle
       Sales Finance Act ?

           Ms . Eden must prove "a   willful   violation" to recover
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under the Motor Vehicle Sales Finance Act . O .C .G .A .

§10-1-38(c) . 1

              A post-repossession notice was never delivered to Ms .

Eden . The creditor knew this and knew it before the retail .

(Doc . 39 )

A . Notice Which Is Mere Gesture Is Not Notice .

              Should a creditor attempt again if it actually knows

that its consumer did not receive the first notice ?

              In the circumstances, a creditor owes a high duty to its

consumer . "[O]wnership of a motor vehicle remains with the

debtor after repossession by a creditor, without further pro-

ceedings       .    .   ."   In re : Rozier , 376 F .3d 1323, 1324, 2004 U .S .

App . Lexis 14950 (11th Cir . 2004) (Georgia law) .               See Motors Ac -

ceptance Corp . vs . Rozier , 278 Ga . 52, 597 S .E . 2d 367, 2004 Ga .

Lexis 470 (2004) ;            Motors Acceptance Corp . vs . Rozier , 290 B .R .

910, 2003 U .S . Dist . Lexis 4527 (M .D . Ga . 2003) .

              "The secured creditor has only a security interest ,

and   .   .   . has a fiduciary relationship vis-a-vis the debtor . It

follows that the creditor, in complying with the statutory not-

ice requirement to give reasonable notification, must simply do

more than go through the motions of attempting to notify the

debtor ."          Keatts vs . Bank of Delaware , 1984 Del . C .P . Lexis 10

(Del . C .P . 1984) .



        1U .C .C . statutory damages do not require willfulness,
only that "a secured party failed to comply . . ." O .C .G .A .
§11-9-625(c)(2) .


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        One line of cases holds that in circumstances such as
        we find in this case, where the secured creditor has
        attempted to notify the debtor by certified mai l
        which comes back unclaimed, and the creditor has suf-
        ficient time and opportunity to provide for the noti-
        fication, the failure to attempt further notification
        is deemed violative of [the U .C .C .] Mallicoat v .
        Volunteer Finance & Loan Corp ., Tenn . App ., 57 Tenn .
        App . 106, 415 S .W . 2d 347 (1966) ; Commercial Credit
        Corp . v . Lloyd, D .C .Super ., 12 U .C .C . Rep . 15 (1973) ;
        In re Hardie, N .D . Ohio, 17 U .C .C . Rep . 633 (1975) ;
        Geohagan v . Commercial Credit Corp ., Ga .App ., 130 Ga .
        App . 828, 204 S .E .2d 784 (1974) . . .

Keatts vs .    Bank of Delaware ,   1984 Del . C . P . Lexis 10   (Del . C .P .

1984) . 2

        The Georgia Court of Appeals "has held that, under certain

circumstances, the mere sending of notice via certified mail

which is subsequently returned as 'unclaimed' will not, standing

alone, satisfy the 'reasonable notification' requirements of

[the U .C .C .]"3    Calcote vs . Citizens and Southern National Bank ,

179 Ga . App . 132, 133, 345 S .E . 2d 616, 618, 1986 Ga . App . Lexis

1 838   (1986) .

        Very frequently cited, both in Georgia and out, is Geoghag -

an vs . Commercial Credit Corp . The factual scenario was typic-

al . The creditor attempted to notify the consumer by certifie d



     2In the Georgia case cited, the West Publishing Co . report
and many subsequent citators misspelled Mr . Geoghagan' s name .
(His son John is a close friend of mine . )

     3U .C .C . citations are pertinent . The Motor Vehicle Sales
Finance Act "is cumulative of Part 6 of Article 9 of Title 11
[default in secured transactions under the U .C .C .]" O .C .G .A .
§10-1-36(c) . "[B]y its terms, O .C .G .A . § 10-1-36 must be read
in conjunction with" the U .C .C .  Calcote vs . Citizens and South -
ern National Bank , 179 Ga . App . 132, 133, 345 S .E . 2d 616, 618,
1986 Ga . App . Lexis 1838 (1986) .


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mail . It was returned "unclaimed" . The creditor proceeded

nonetheless . The Georgia Court of Appeals held that if the cre-

ditor had actual knowledge at the time of the sale that notice

had not been delivered to the consumer, the creditor had not ac-

ted in good faith .

     If returned prior to the sale, as would appear to be
     the case from the length of time elapsing between
     mailing and the sale, we would be constrained to
     hold that [the creditor] had not in good faith per-
     formed its obligations in disposing of the collater-
     al .

Geoghagan vs . Commercial Credit Corp . , 130 Ga . App . 828, 831,

204 S .E . 2d 784, 786 (1974) .   See also Slocum vs . First National

Bank , 152 Ga . App . 632, 633, 634, 263 S .E . 2d 516, 517 (1979)

("In the present case, the court found that the [creditor] made

a good faith effort to notify the [consumer] by sending the not-

ice letter a second time after it was originally returned as

'unclaimed .") ;   Citizens and Southern National Bank vs . Morgan ,

142 Ga . App . 337, 339, 235 S .E . 2d 767, 768 (1977) ("It is not

shown here whether the notice of the sale was returned prior to

or after the sale ." )

     Annual Harris polls of business leaders commissioned by th e

United States Chamber of Commerce4 uniformly rate Delaware's ju-

diciary the nation's most pro-business, but even the Delaware

Supreme Court thinks that a repossessing creditor cannot turn a

blind eye . The creditor "cannot rely on the mailed notic-



      4http ://instituteforlegalreform .org/harris/index .php



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es   .   .   . because      i t learned by return mail prior to the sale

that the Debtor had not received those notices ."                        Friendly Fin -

ance Corp . vs . Bovee , 702 A .2d 1225 ,               1228 (Del .    1997) .     See also

Fidelity Financial Services ,              Inc . vs .   Stewart ,     608 So .   2d 1111,

1114 (Miss .        1992) (citing Geoghagan ) (" In cases in which the

creditor knows that the debtor has not received notice, this

Court construes statutory law as imposing a duty on the creditor

to make an additional good - faith effort to notify the debtor .")

( emphasis original ) ; National Boulevard Bank vs .                    Jackson , 92

Ill . App .      3d 928 ,      930, 416 N .E . 2d 358 ,    361, 1981 Ill . App . Lex-

is 2022        ( Ill . App .    1981) ("That notice was returned to [the cre-

ditor] by the post office marked                 ' unclaimed . " ) ;    Day vs .    Schen -

ectady Discount Corp .,             125 Ariz .   564, 569, 611 P . 2d 568, 573,

1980 Ariz .       App . Lexis 440 (Ariz .        App . 1980 ) (" Notice which is

mere gesture is not notice .") ;              General Motors Acceptance Corp .

vs . Thomas ,       15 Ohio Misc .      267, 272 ,   237 N . E . 2d 427 ,    430, 1968

Ohio Misc .       Lexis 294       ( Ohio C . P . 1968 ) (" Law, in light of equita-

ble principles ,          is always loathe to terminate any substantive

right without actual notice or full compliance with a prescribed

procedure which ,           in common experience ,        results almost invariably

in actual notice ." )

B . The Creditor Callously Disregarded The Consumer ' s Right To
     Notice .

         Factual scenarios to this point have been described as "ty-

pical" .        Ms . Eden's case is atypical . The Postal Service did

not even attempt to deliver to her . The creditor failed to send

the notice again . Was this "a willful violation" of the Moto r



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Vehicle Sales Finance Act? O .C . O .A . §10-1-36(a) .

     The following cases construed the U .C .C . Each character-

ized retail despite actual knowledge that the consumer did not

receive notice as either a willful act, an act in the nature of

a willful act, or a lack of good faith . 5

     Each describes such conduct using words like "callous",

"conscious", and a clear absence of "good faith" .

     In Georgia a creditor who refused to make the second at-

tempt "had not in good faith performed its obligations in dis-

posing of the collateral ."    Geoghagan vs . Commercial Credit

Corp ., 130 Ga . App . 828, 831, 204 S .E . 2d 784, 786 (1974) . 6

     In the Matter of Carter may be the most cited case . "The

notice was returned unclaimed before the sale . [The creditor]

made no further attempt to notify the debtor          .   .   ." The Ninth

Circuit refused to approve the notice . "The notice require-

ment['s] purpose is to permit the debtor to bid at the foreclos-

ure sale or to otherwise assure that the sale was conducted in a

commercially reasonable manner     .     .   . Here that purpose has been

frustrated by the failure of the bank to attempt a second deliv-

ery when it knew the notice had not been received by the debt-



      5"Every contract or duty within this title [the U .C .C .] im-
poses an obligation of good faith in its performance or enforce-
ment ." O .C .G .A . §11-1--203 . "Georgia case law emphasizes that a
creditor must perform in good faith its obligations in disposing
of the collateral ."      Lacy vs . General Finance Co . , 651 F .2d
1026, 1028 (5th Cir . 1981) (Georgia law) .      See In re : Foskey ,
1991 WL 11002470 (Bankr . S .D . Ga . 1991) .

     6Statutory damges under the MVSFA are predicated not on bad
faith but on "a willful violation" . O .C .G .A . §10-1-38(c) .


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or   .   .   . Proceeding to sale with knowledge that the debtor had

received no notice can scarcely be said to be in good faith ."

In the Matter of Carter , 511 F .2d 1203, 1204, 1205, 1975 U .S .

App . Lexis 15916 (9th Cir . 1975) (California law) .

         The Ninth Circuit relied on Mallicoat vs . Volunteer Finance

and Loan Corp .        Notice sent by registered mail was unclaimed .

The creditor took no further action to notify the consumer . "In

view of the undisputed evidence in this case that the debtor did

not receive the notice and that the secured creditor was aware

that he had not received it, it is our opinion the creditor not

only failed to show a compliance with the Act but that the rec-

ord affirmatively shows a lack of compliance and a conscious

disregard of the debtor's right to notice ." 57 Tenn . App . 106,

112, 415 S .W . 2d 347, 350 (1966) .

         In Commercial Credit Corp . vs . Lloyd , a creditor sent not-

ice certified . The notice was "unclaimed" . The creditor made

no further attempt, but i t

         knew that [the consumer] did not receive the not-
         ice, because the notice was returned 'unclaimed .'
         Rather than making a second attempt to notify [the
         consumer, the creditor] sat back, permitted the neces-
         sary time to run, and sold the automobile . . . Had
         the second attempt been made, it undoubtedly would
         have been successful, because [the consumer] received
         from [the creditor], subsequent to the sale, letters
         sent by ordinary mail bearing the identical address
         dunning him for the deficiency .

             . The statutory language, particularly when con-
         sidered in light of the grim realities of the unequal
         relationship between secured creditors and the ordin-




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       ary defaulting debtor, leads to the inescapable conclu-
       sion that the security holder's right to prevail must
       rest upon good faith compliance with the statutory not-
       ice requirement .

       [The creditor] showed a callous disregard of [the con-
       sumer 's] right to notice . [The creditor ] was success-
       ful in locating the automobile at a place where it or-
       dinarily would not have been       . With much les s
       diligence, the owner, too, could have been located,
       and, at the place where one would expect to find him,
       i . e ., his home, the address of which was known to
       [the creditor] .

Commercial Credit Corp . vs . Lloyd , 12 U .C .C . Rep . Serv . 15, 17,

18 (Callaghan & Co .) (D .C . Super . 1973) .

II .   Imprecision Is Fatal .

       Even had the creditor's notice been delivered, it would

still have been deficient . The Motor Vehicle Sales Finance Act

requires notification of "intention to pursue a deficiency" .

O .C .G .A . §10-1-36(a) .

       The creditor said only that "you may still owe us the dif-

ference ." (Doc . 32 )

       An ambiguous notice is not notice . Courts in U .C .C . cases

consistently hold that a creditor is obligated "to comply

strictly with the notice of sale provisions" .         Barbree vs .

Allis-Chalmers Corp . , 250 Ga . 409, 412, 297 S .E . 2d 465, 468

(1982) .   See also G .E .M .C . Federal Credit Union vs . Shoemake ,

151 Ga . App . 705, 261 S .E . 2d 443 (1979) ; R .W .R ., Inc . vs .

D .F .T . Trucking, Inc . , 899 S .W . 2d 875 (Mo . App . 1995) .

       Notice "must expressly state the secured party's intended

disposition of the collateral and not simply that the collateral

might be sold ." James S . Rankin, DOBBS' GEORGIA ENFORCEMENT O F



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SECURITY INTERESTS IN PERSONAL PROPERTY 5 8-4 (3d ed . 2002) .

       A " warning that the debtor would be liable for a deficiency

should there be a sale is insufficient as a notice of the sale of

the collateral ."       Ronald A .     Anderson ,      ANDERSON ON THE UNIFORM

COMMERCIAL CODE §9-504 : 601 (3d ed .               1999 rev .    ed .) (citing

G .E .M .C .   Federal Credit Union ) .

       What should appropriate language look like? The obvious ex-

ample is the U .C .C . "safe harbor " form .                 O .C .G .A . § 11-9-614(3) .

       An example of a judicially - approved Motor Vehicle Sales Fin-

ance Act notice is quoted in             In re :     Foskey . " In the event the

proceeds from the sale of this collateral do not satisfy your in-

debtedness to us ,       you will be liable for any remaining                  balance ."

1991 WL 11002470        ( Bankr .   S .D . Ga .    1991) .

        Was not CitiFinancial ,         by using ambiguous and indefinite

words ,    trying to reserve its rights ,             not having decided how it

would proceed ?       Another creditor tried the same approach in

Benton-Lincoln Credit Service ,             Inc . vs .       Giffin . " Among the reme-

dies reserved to the contract holder is the right to sell , apply-

ing the proceeds to the expenses of the repossession and the sale

and the reduction of the secured indebtedness ."                       The Oregon Court

of Appeals would not accept this attempt to reserve rights .

"This notice did not inform plaintiff of the intended disposition

of the collateral and was insufficient to meet the requirements

of the statute ."        48 Ore . App . 559 ,        561, 564 ,     617 P . 2d 662, 663,

665 (1980) .

        Another idea from insurance law was borrowed to explain th e



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Nebraska Supreme Court ' s conclusion in Deutsche Credit Corp . vs .

Hi-bo Farms, Inc .      "An ambiguity in a notice sent pursuant to

the requirements of (the U . C .C .] is to be resolved against the

drafter of the notice ."        224 Neb .      463, 398 N .W . 2d 693, 694

(1987) .

III .    Is A Consumer Entitled To Statutory Damages If She Does
         Not Prove Actual Damage ?

        Cited in previous submissions were cases from the Georgia

Court of Appeals in support of the premise that Ms . Eden need

not show actual damage .        A more recent decision from that court

is Atlantic Coast Federal Credit Union vs .             Delk , 241 Ga . App .

589, 591 ,    526 S .E . 2d 425 ,   427, 428     ( 1999) . "Even if the con-

sumer debtor does not prove specific monetary loss but proves

that the creditor did not comply with the statute, the debtor

is entitled to recover the finance charge plus               [ ten] percent of

the principal amount of the contract if he or she proves those

figures . "

IV .    The Purpose Of Notice Is To Allow A Consumer To Avoid Or
        Minimize A Deficiency .

        Previously submitted was that the purpose of notification

is not limited to redemption .          Cited i n support were authorities

from other jurisdictions . ( Doc . 42 )

        The Georgia Supreme Court interpreted the same statement of

legislative intent .

        'The purpose of requiring notice is three-fold .             It
        gives the debtor an opportunity to exercise the
        right of redemption of the repossessed collat-




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        eral . . . It also gives him the chance to challenge
        any aspect of the disposition before it is made .
        Finally, it offers the debtor the opportunity to seek
        out persons who might be interested in purchasing the
        collateral . . . Particularly the last two of these
        purposes serve the ultimate goal of allowing the
        debtor to maximize the sale price of the collateral
        and, thus, minimize any deficiency for which he will
        be liable . '

Reeves vs . Habersham Bank , 254 Ga . 615, 621, 331 S .E . 2d 589,

595 (1985) . S ee also Barbree vs . Allis-Chalmers Corp ., 250 Ga .

409, 297 S .E . 2d 465 (1982) .

V.     Erratum .

        Previously cited in support of the premise that the coun-

terclaim is absolutely barred because the creditor did not give

the notice mandated by the Motor Vehicle Sales Finance Act was

In re Dykes , 287 B .R . 298 (Bankr . S .D . Ga . 2002) .

        In the previous filing, I misspelled the case name . (Doc .

28)

VI .    Some questions .

        Is there any question that Ms . Eden was not notified? Was

she ever alerted that she needed to find a buyer? Was it in any

way her fault that she did not receive notice? Did her default

on the loan forfeit her rights? Did CitiFinancial actually know

that she was not notified? Why could it not have just sent the

notice again? Did it act in the manner that we would expec t

from one taking care of another's property? What does CitiFin-

ancial's attitude appear to have been toward Ms . Eden? Can any

interpretation characterize CitiFinancial's actions as having

been in good faith? Did it use the same diligence after repos-



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session that it used to repossess the collateral? Did its neg-

lect frustrate the legislature's reason for requiring notice?

Did it consciously disregard Ms . Eden 's right? Was this neglect

a willful act ?

     Did CitiFinancial's notice form clearly tell its customers

that it intended to hold them responsible for deficiencies? Did

the notice form say that CitiFinancial intended to pursue         a

claim or only that it might do? Was the use of this form a

willful act ?

     Can we expect financial institutions to obey the law unless

they know that they will be held accountable ?



                                  C          '
                                CHARLES BRANNON
                                ATTORNEY FOR PLAINTIF F
                                   LYNETTE EDE N
                                 State Bar of Georgia Number 07745 0




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912-489-6830
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA,
                        STATESBORO DIVISION

LYNETTE TANKERSLEY EDEN,
                                    )
     Plaintiff,                     )

vs .      )        Case                 No . CV605-04 3

CITIFINANCIAL AUTO,
LTD .,

     Defendant .



                         Certificate Of Servic e

     I certify that I have today served the defendant CitiFinan-

 cial Auto, Ltd . with a copy of the attached by posting it with

 the United States Postal Service with adequate first class pos-

 tage thereon and addressed as follows :

     Mr . William Loeffler
     Troutman, Sanders, L .L .P .
     Suite 520 0
     Bank of America Plaz a
     600 Peachtree Street, N .E .
     Atlanta, Georgia 30308-227 6

       This tenth day of May, 2006 .




                                    Charles Brannon
                                    Attorney for plaintif f
                                      Lynette Ede n
                                    State Bar of Georgia Number 077450
